                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

NORMAN PECK,                                        )
                                                    )
                              Plaintiff,            )
                                                    )
                         v.                         )         1:18-cv-03989-RLY-TAB
                                                    )
REV-1 SOLUTIONS, LLC,                               )
                                                    )
                              Defendant.            )


   NOTICE OF LAWSUIT AND REQUEST TO WAIVE SERVICE OF A SUMMONS

TO:    1) William Joseph Huff
          Registered Agent
          Rev-1 Solutions LLC
          517 U.S. Highway 31 N.
          Greenwood, IN 46142

       Why are you getting this?

       A lawsuit has been filed against you, or the entity you represent, in the United States

District Court for the Southern District of Indiana under the number shown above. A copy of the

complaint is attached.

       This is not a summons. It is a request that, to avoid expenses, you waive formal service of

a summons by signing and returning the enclosed waiver. To avoid these expenses, you must

return the signed waiver within 30 days from the date shown below, which is the date this notice

was sent. Two copies of the waiver form are enclosed, along with a stamped, self-addressed

envelope or other prepaid means for returning one copy. You may keep the other copy.

       What happens next?




                                                1
        If you return the signed waiver, it will be filed with the court. The action will then proceed

as if you had been served on the date the waiver is filed, but no summons will be served on you

and you will have 60 days from the date this notice is sent (see the date below) to answer the

complaint (or 90 days if this notice is sent to you outside any judicial district of the United States).

        If you do not return the signed waiver within the time indicated, the court will direct that

appropriate steps be taken to effect formal service in a manner authorized by the Federal Rules of

Civil Procedure and may require you, or the entity you represent, to pay the expenses of making

service.

        Please read the enclosed statement about the duty to avoid unnecessary expenses.

        I affirm that this request is being sent to you on behalf of the plaintiff this

 23rd day of ______________
_____          July         2019.

                                                        Deputy Clerk




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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


NORMAN PECK,                                            )
                                                        )
                               Plaintiff,               )
                                                        )
                          v.                            )          1:18-cv-03989-RLY-TAB
                                                        )
REV-1 SOLUTIONS, LLC,                                   )
                                                        )
                               Defendant.               )


                         WAIVER OF THE SERVICE OF SUMMONS

TO:     Clerk of Court, Southern District of Indiana

        I have received your request to waive service of a summons in this action along with a copy

of the complaint, two copies of this waiver form, and a prepaid means of returning one signed copy

of the form to you.

        I, or the entity I represent, agree to save the expense of serving a summons and complaint

in this case. I understand that I, or the entity I represent, will keep all defenses or objections to the

lawsuit, the court’s jurisdiction, and the venue of the action, but that I waive any objections to the

absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion

under Rule 12 within 60 days from the date when this request was sent (or 90 days if it was sent

outside the United States). If I fail to do so, a default judgment will be entered against me or the

entity I represent.




                                                   3
Date:   _________________________
        Signature of the Attorney or Unrepresented Party


        Printed or Typed Name


        Address


        E-mail address


        Telephone number




           4
                   Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in

saving unnecessary expenses of serving a summons and complaint. A defendant who is located in

the United States and who fails to return a signed waiver of service requested by a plaintiff located

in the United States will be required to pay the expenses of service, unless the defendant shows

good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been

brought in an improper venue, or that the court has no jurisdiction over this matter or over the

defendant or the defendant’s property.

          If the waiver is signed and returned, you can still make these and all other defenses and

objections, but you cannot object to the absence of a summons or of service.

          If you waive service, then you must, within the time specified on the waiver form, serve an

answer or a motion under Rule 12 on the plaintiff and file a copy with the court. By signing and

returning the waiver form, you are allowed more time to respond than if a summons had been

served.




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